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                                                                                   United States Courts
                                                                                 Southern District of Texas
                            UNITED STATES DISTRICT COURT                                  FILED
                             SOUTHERN DISTRICT OF TEXAS                            November 20, 2024
                                 HOUSTON DIVISION
                                                                               Nathan Ochsner, Clerk of Court


UNITED STATES OF AMERICA                     §
                                             §
v.                                           §       Criminal No.
                                             §       4:24-cr-00298-S
EITHAN DAVID HAIM                            §

                          SECOND SUPERSEDING INDICTMENT


THE GRAND JURY CHARGES:

        At all times relevant to this Second Superseding Indictment, unless otherwise stated:

                                       INTRODUCTION

        1.     Defendant Eithan David Haim (“HAIM”) was a resident student at Baylor

College of Medicine (“BAYLOR”) specializing in general surgery. HAIM was a resident of

BAYLOR from 2018 through 2023.

        2.     Baylor College of Medicine is a medical school and research center located in

Houston, Texas.

        3.     Texas Children’s Hospital (“TCH”) is one of the largest pediatric hospitals in the

United States. TCH operated in the Southern District of Texas as a health care provider, as

defined by Title 42, United States Code, Section 1320d(3) and Title 45, Code of Federal

Regulations, Section 160.103.

        4.     As part of HAIM’s residency with BAYLOR, HAIM had five rotations from

2019 to 2021 with pediatric patients in the general surgery division at TCH.




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       5.      TCH treated pediatric patients residing in Houston, Texas and elsewhere. Patients

receiving treatment at TCH provided their personal identification and health information,

including name, date of birth, social security number, medical history, prescriptions received, and

medications taken. TCH used computers and computer systems to store and exchange this patient

medical information electronically.

       6.      TCH was a covered entity, as described in the HIPAA (Health Insurance

Portability and Accountability Act) privacy regulation, Title 42, United States Code, Section

1320d-9(b)(3). The patient records maintained at TCH computers and computer systems

contained “individually identifiable health information”, as defined by Title 42 United States

Code, Section 1320d(6) and Title 45, Code of Federal Regulations, Section 160.103.

       7.      In or around 2018, HAIM received his login credentials from TCH in order to

access medical patient files. HAIM was only authorized to review patient records of patients

under his care. HAIM was not authorized to look at medical records for patients that were not

under his care at TCH or any other relevant entities.

       8.      In or around June 2018, HAIM participated in extensive HIPAA training provided

to all BAYLOR residents upon entry into BAYLOR’s residency program. HAIM was provided

important information about HIPAA as well as information for reporting any medical concerns or

issues. HAIM attended numerous trainings where BAYLOR provided information related to

anonymous reporting of any instances of misconduct, ethic violations, or child abuse etc…to its

medical students. The training was relevant to not only BAYLOR but to the related entities such

as TCH.




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        9.     Starting from September 2022 through April 2023, HAIM attempted to re-

activate his TCH login credentials on numerous occasions. HAIM’s credentials had expired due

to long periods of inactivity. HAIM sought to re-activate his login access at TCH to have access

to pediatric patients not under his care. HAIM contacted TCH numerous times under the false

pretense that he needed access to the electronic records system for the treatment of patients under

his care.

        10.    On or about April 24, 2023, HAIM’s login activity showed that HAIM began

accessing pediatric patient files at TCH that were not under his care.

        11.    HAIM obtained personal information including patient names, treatment codes,

dates of service and attending physician from TCH’s electronic system without authorization and

under the false pretenses that he needed the access for the provision of medical services to

patients under his care.

        12.    After HAIM obtained unauthorized individually identifiable health information of

pediatric patients, HAIM did not attempt to report or report any concerns to supervisors at

BAYLOR or TCH. HAIM did not report any concerns to the anonymous hotline provided by

BAYLOR or to Child Protective Services as had been directed by BAYLOR when he entered the

program.

        13.    Instead, HAIM, with the intent to use the individually identifiable health

information to cause malicious harm to TCH and its physicians, obtained the individually

identifiable health information and disclosed portions of the health information to a media

contact, PERSON1.




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       14.     In or around May 14 through May 16, 2023, HAIM and Person1 talked on the

phone numerous times. On or about May 16, 2023, Person1 published patient information

obtained by HAIM via X (formerly known as Twitter) and other online media outlets.

The patient information had partially redacted out names of the pediatric patients but kept the

dates of service, diagnosis, procedure codes and physician names visible.

       15.     As a result of HAIM’s actions, TCH resulted in financial loss, medical delays in

previously scheduled patients as well as threats and harm to patients and/or esteemed physicians.



                                            COUNT 1

       The Grand Jury further charges:

       Paragraphs 1 through 15 of this Second Superseding Indictment are hereby re-alleged and

incorporated by reference as though fully set forth herein.

       From in or around January 2023 to in or around May 2023, in the Southern District of

Texas, the defendant, EITHAN DAVID HAIM, knowingly and without authorization, and in

violation of Title 42, United States Code, Chapter 7, Subchapter XI, Part C (provisions of

HIPAA), obtained individually identifiable health information under false pretenses; to wit,

electronic medical records which were maintained by TCH and which contained the individually

identifiable health information of approximately four TCH patients: L.M., A.C., A.S., and G.M.

       In violation of Title 42, United States Code, Sections 1320d-6(a)(2) and (b)(2).




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                                    COUNTS TWO - FOUR

       The Grand Jury further charges:

       Paragraphs 1 through 15 of this Second Superseding Indictment are hereby re-alleged and

incorporated by reference as though fully set forth herein.

       From in or around January 2023 to on or in or around May 2023, in the Southern District

of Texas, the defendant, EITHAN DAVID HAIM, knowingly and without authorization, and in

violation of Title 42, United States Code, Chapter 7, Subchapter XI, Part C (provisions of

HIPAA), obtained individually identifiable health information under false pretenses and with

intent to use the individually identifiable health information to cause malicious harm to TCH and

its physicians.

       Count                    Date                          Information Obtained
                                                       Patient M.S.: MRN number, DOB,
                   On or about April 24, 2023
          2                                            Date of Service, Notes, Visit type,
                   through May 14, 2023
                                                       Physician.
                                                       Patient K.B.: MRN number, DOB,
                   On or about April 24, 2023
          3                                            Date of Service, Notes, Visit type,
                   through May 14, 2023
                                                       Physician.
                                                       Patient G.H.: MRN number, DOB,
                   On or about April 24, 2023
          4                                            Date of Service, Notes, Visit type,
                   through May 14, 2023
                                                       Physician.


       In violation of Title 42, United States Code, Sections 1320d-6(a)(2) and (b)(2); (b)(3).




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                           NOTICE OF CRIMINAL FORFEITURE

                (18 U.S.C. § 981(a)(1)(D)(vi) and (E), and 28 U.S.C. § 2461(c))

Pursuant to Title 18, United States Code, Section 981(a)(1)(C), and Title 28, United States Code,

Section 2461(c), the United States gives notice to defendant,



                                     EITHAN DAVID HAIM

that upon conviction for HIPAA violations as charged in Counts 1 through 4, all property, real or

personal, which constitutes or is derived from proceeds traceable to such violation(s) shall be

forfeited to the United States.



                             Money Judgment and Substitute Assets

       The United States will seek the imposition of a money judgment against the defendant. In

the event that a condition listed in Title 21, United States Code, Section 853(p) exists, the United

States will seek to forfeit any other property of the defendant in substitution.



                                                      A TRUE BILL

                                                      ___________________________________
                                                      FOREPERSON OF THE GRAND JURY


ALAMDAR S. HAMDANI
UNITED STATES ATTORNEY


____________________________________
JESSICA FEINSTEIN
TYLER WHITE
ASSISTANT UNITED STATES ATTORNEYS




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